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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

JAMILA CUMBERBATCH

against-

CARIBE FUNERAL HOME,

ISLAND PARTY CATERING HALL,

NYIKA C. WILSON,
FELIX NORMOSIKY and
BORIS FILIMONOV.

 

 

Civil Complaint for Fair Labor
Standard Act Violation

Case No.
(to be filled in by the Clerk’s Office)

 

Jury Trial: Yes

Plaintiff Jamila Cumberbatch (“Plaintiff Cumberbatch” or “Ms. Cumberbatch’”),

by and through their attorney, Tyrone A. Blackburn, upon their knowledge and belief,

and as against Caribe Funeral Home (d/b/a Caribe Funeral Home), (“Defendant

Corporation’), alleges as follows:

NATURE OF ACTION

1. Plaintiff Jamila Cumberbatch is a former employee of Defendant Caribe Funeral Home

(d/b/a Caribe Funeral Home). Defendant owns, operates, or controls a Funeral Home,

located at 1922 Utica Avenue, Brooklyn, New York, 11234 under the name “Caribe

Funeral Home”.
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Plaintiff Cumberbatch was employed as an Office Assistant at the Funeral Home located
at 1922 Utica Avenue, Brooklyn, New York, 11234.

Plaintiff Jamila Cumberbatch is a former employee of Defendant Island Party Catering
Hall (d/b/a Island Party Catering Hall). Defendant owns, operates, or controls a Party
Catering Hall, located at 1914 Utica Avenue, Brooklyn, New York, 11234 under the name
“Island Party Catering Hall”.

Plaintiff Cumberbatch was employed as an Office Assistant at the Party Catering Hall
located at 1914 Utica Avenue, Brooklyn, New York, 11234.

_ At all times relevant to this complaint, Plaintiff Cumberbatch worked for Defendants in

excess of 40 hours per week, without appropriate overtime compensation for the hours that
she worked.

Defendants failed to pay Plaintiff Cumberbatch appropriately for any additional overtime
premium.

At all times relevant to this Complaint, Defendants maintained a policy and practice of
requiring Plaintiff Cumberbatch to work an excess of forty (40) hours per week without
providing the overtime compensation required by federal and state law and regulations.
Plaintiff Cumberbatch now brings this action for unpaid minimum and overtime wages
pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C. § 201 et seq. (“FLSA”), and
for violations of the N.Y. Labor Law § § 190 et seq. and 650 et seq. (The “NYLL”), and
overtime wage orders of the New York Commissioner of Labor codified at N. Y. Comp.
CODES R. & REGS. tit. 12, § 146-1.6 (herein the “Spread of Hours Wage Order”),

including applicable liquidated damages, interest, attorneys’ fees and costs.

JURISDICTION AND VENUE

This Court has subject matter jurisdiction under 28 U.S.C § 1331 (federal question) and
the FLSA, and supplemental jurisdiction over Plaintiff Cumberbatch state law claims under
28 U.S.C. § 1367(a).

Venue is proper in this district under 28 U.S.C § 1391(b) and (c) because all, or a substantial
portion of the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and
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Defendants operate a Funeral Home located in this district. Further, Plaintiff Cumberbatch

was employed by Defendants in this district.

PARTIES
Plaintiff

Plaintiff Jamila Cumberbatch (“Plaintiff Cumberbatch” or “Ms. Cumberbatch”) is an adult
individual residing in Kings County, New York.
Plaintiff Cumberbatch was employed as an Office Assistant by Defendant Caribe Funeral

Home from approximately January 2, 2019 to May 20, 2019.

Defendants

At all relevant times, Defendants own, operate, or control a Funeral Home, located at 1922
Utica Avenue, Brooklyn, New York, 11234 under the name “Caribe Funeral Home”.
Upon information and belief, Caribe Funeral Home (d/b/a Caribe Funeral Home) is a
domestic corporation organized and existing under the laws of the State of New York.
Upon information and belief, it maintains its principal place of business at 1922 Utica
Avenue, Brooklyn, New York, 11234.

At all relevant times, Defendants own, operate, or control a Party Catering Hall, located at
1914 Utica Avenue, Brooklyn, New York, 11234 under the name “Island Party Catering
Hall”,

Upon information and belief, Island Party Catering Hall (d/b/a Island Party Catering Hall)
is a domestic corporation organized and existing under the laws of the State of New York.
Upon information and belief, it maintains its principal place of business at 1914 Utica
Avenue, Brooklyn, New York, 11234.

Defendant Nyika C. Wilson is an individual engaging (or who has engaged) in business in
this judicial district during the relevant time period. Defendant Nyika C. Wilson is sued
individually in her capacity as officer, owner and/or agent of Defendant Corporation.
Defendant Nyika C. Wilson possesses operational control over Defendant Corporation, and
controls significant functions of Defendant Corporation. She determines the wages and
compensation of the employees of Defendants, including Plaintiff Cumberbatch, and has

the authority to hire and fire employees.
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Defendant Felix Normosiky is an individual engaging (or who has engaged) in business in
this judicial district during the relevant time period. Defendant Felix Normosiky is sued
individually in his capacity as Manager, officer, owner and/or agent of Defendant
Corporation. Defendant Felix Normosiky possesses operational control over Defendant
Corporation, and controls significant functions of Defendant Corporation. He determines
the wages and compensation of the employees of Defendants, including Plaintiff
Cumberbatch, establishes the schedules of the employees, maintains employee records, and
has the authority to hire and fire employees.

Defendant Boris Filimonov is an individual engaging (or who has engaged) in business in
this judicial district during the relevant time period. Defendant Boris Filimonov is sued
individually in his capacity as Supervisor, officer, owner and/or agent of Defendant
Corporation. Defendant Boris Filimonov possesses operational control over Defendant
Corporation, and controls significant functions of Defendant Corporation. He determines
the wages and compensation of the employees of Defendants, including Plaintiff
Cumberbatch, establishes the schedules of the employees, maintains employee records, and

has the authority to hire and fire employees.

FACTUAL ALLEGATIONS
Defendants Constitute Joint Employers

Defendants operate a Funeral Home located in Brooklyn, New York.

Defendants operate a Party Catering Hall located in Brooklyn, New York.

. Individual Defendant, Nyika C. Wilson, possesses operational control over Defendant

Corporation, possesses ownership interests in Defendant Corporation, and controls
significant functions of Defendant Corporation.

Individual Defendant, Felix Normosiky, possesses operational control over Defendant
Corporation, possesses ownership interests in Defendant Corporation, and controls
significant functions of Defendant Corporation.

Individual Defendant, Boris Filimonov, possesses operational control over Defendant
Corporation, possesses ownership interests in Defendant Corporation, and controls

significant functions of Defendant Corporation.
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Defendants are associated and joint employers, act in the interest of each other with respect
to employees, pay employees by the same method, and share control over the employees.
Each Defendant possessed substantial control over Plaintiff Cumberbatch’s working
conditions, and over the policies and practices with respect to the employment and
compensation of Plaintiff Cumberbatch referred to herein.

Defendants jointly employed Plaintiff Cumberbatch and are Plaintiff Cumberbatch’s
employers within the meaning of 29 U.S.C. 201 et seq. and the NYLL.

. In the alternative, Defendants constitute a single employer of Plaintiff Cumberbatch.
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At all relevant times, Defendants were Plaintiff Cumberbatch employers within the
meaning of the FLSA and New York Labor Law. Defendants had the power to hire and
fire Plaintiff Cumberbatch, controlled the terms and conditions of employment, and
determined the rate and method of any compensation in exchange for Plaintiff

Cumberbatch services.

Individual Plaintiff

Plaintiff Cumberbatch is a former employee of Defendants who is employed as an Office

Assistant.

Plaintiff Jamila Cumberbatch

Plaintiff Cumberbatch is employed by the Defendants from approximately January 2, 2019
to May 20, 2019.
Defendants employed Plaintiff Cumberbatch as an Office Assistant.

. Plaintiff Cumberbatch’s work duties required neither discretion nor independent judgment.
34.

Throughout her employment with Defendants, Plaintiff Cumberbatch regularly worked in
excess of forty (40) hours per week.

From Approximately January 2, 2019 to May 20, 2019, Plaintiff Cumberbatch worked as
an Office Assistant from approximately 11:00 a.m. until on or about 8:30 p.m., Monday
through Friday; and 8:00 a.m. until on or about 7:00 a.m., Saturday and Sunday, typically
97.50 hours per week.

Throughout her employment, Defendants paid Plaintiff Cumberbatch her wages through

check or cash.
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37. From approximately January 2, 2019 to May 20, 2019, Defendants paid Plaintiff

Cumberbatch her regular hourly pay.

38. Plaintiff Cumberbatch pay did not vary even when she was required to start earlier or work

a longer day than her usual schedule.

39. For example, Defendants required Plaintiff Cumberbatch to start work hours earlier or

work longer days when there was a shortage of staff and did not pay her overtime pay for
the additional time she worked. ,

40. Plaintiff Cumberbatch kept track of the hours she worked in a journal.

41. Notifications in the form of posted notices and written correspondences, was not given to

Plaintiff Cumberbatch regarding overtime and wages under the FLSA and NYLL.

42. Defendants did not provide Plaintiff Cumberbatch an accurate statement of wages, as

required by NYLL 195(3).

Defendants’ General Employment Practices

43. At all times relevant to this Complaint, Defendants maintained a policy and practice of

requiring Plaintiff Cumberbatch to work in excess of 40 hours a week without paying her

appropriate overtime compensation as required by federal and state laws.

44. Plaintiff Cumberbatch is a victim of Defendants’ common policy and practices which

violate her rights under the FLSA and New York Labor Law by, inter alia, not paying her

the wages she is owed for the hours she worked.

45, Defendants habitually require Plaintiff Cumberbatch to work additional hours beyond her

regular shifts but did not provide her with any additional compensation.

46. Upon information and belief, these practices by Defendants were done willfully to disguise

the actual number of hours Plaintiff Cumberbatch worked, and to avoid paying Plaintiff

Cumberbatch properly for her full hours worked.

47. Defendants engaged in their unlawful conduct pursuant to a corporate policy of minimizing

labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

48. Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused significant

damages to Plaintiff Cumberbatch.
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FIRST CAUSE OF ACTION
FAIR LABOR STANDARDS ACT-OVERTIME WAGES
(Brought on behalf of Plaintiff)

49. Plaintiff Cumberbatch repeats and realleges all paragraphs above as though fully set forth
herein.

50. The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201 et seq., and the
supporting federal regulations, apply to Defendants and protect Plaintiff Cumberbatch.

51. Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiff Cumberbatch
overtime compensation at a rate of one and one-half times the regular rate of pay for each
hour worked in excess of forty hours in a work week.

52. Defendants’ failure to pay Plaintiff Cumberbatch overtime compensation was willful
within the meaning of 29 U.S.C. § 255(a).

53. As a result of Defendants’ willful violations of the FLSA, Plaintiff Cumberbatch have
suffered damages by being denied overtime compensation in amounts to be determined at
trial, and are entitled to recovery to such amounts, liquidated damages, prejudgment
interest, attorneys’ fees and costs, and other compensation pursuant to 29 U.S.C. §§ 201 et

Seq.

SECOND CAUSE OF ACTION
VIOLATION OF THE OVERTIME PROVISIONS
OF THE NEW YORK STATE LABOR LAW
(Brought on behalf of Plaintiff)

54. Plaintiff Cumberbatch repeats and realleges all paragraphs above as though fully set forth
herein.

55. Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations of the
New York State Department of Labor, failed to pay Plaintiff Cumberbatch overtime
compensation at rates of one and one-half times the regular rate of pay for each hour
worked in excess of forty (40) hours in a work week.

56. Defendants’ failure to pay Plaintiff Cumberbatch overtime compensation was willful

within the meaning of N.Y. Lab. Law § 663.
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Plaintiff Cumberbatch is entitled to recover from Defendants her unpaid overtime wages,
liquidated damages as provided for by the NYLL, reasonable attorneys’ fees and costs, and

pre-judgment and post-judgment interest.

THIRD CAUSE OF ACTION
VIOLATION OF THE TIMELY PAYMENT PROVISIONS
OF THE NEW YORK LABOR LAW

(Brought on behalf of Plaintiff)
Plaintiff Cumberbatch repeats and realleges all paragraphs above as though set forth fully
herein.
Defendants did not pay Plaintiff Cumberbatch on a weekly basis, in violation of NYLL §
191.

Defendants are liable to Plaintiff Cumberbatch in an amount to be determined at trial.

FOURTH CAUSE OF ACTION
VIOLATION OF THE SPREAD OF HOURS WAGE ORDER
OF THE NEW YORK COMMISSIONER OF LABOR

(Brought on behalf of Plaintiff)
Plaintiff Cumberbatch repeats and realleges all paragraphs above as though fully set forth
herein.
Defendants failed to pay Plaintiff Cumberbatch one additional hour’s pay at the basic
minimum wage rate before allowances for each day Plaintiff Cumberbatch, spread of hours
exceeded ten hours in violation of NYLL §§ 650 et seg. and 12 N.Y.C.R.R. §§ 146-1.6.
Defendants’ failure to pay Plaintiff Cumberbatch an additional hour’s pay for each day
Plaintiff Cumberbatch spread of hours exceeded ten hours was willful within the meaning
of NYLL § 663.

Plaintiff Cumberbatch was damaged in an amount to be determined at trial.

FIFTH CAUSE OF ACTION
VIOLATION OF THE NOTICE AND RECORDKEEPING
REQUIREMENTS OF THE NEW YORK LABOR LAW
(Brought on behalf of Plaintiff)

Plaintiff Cumberbatch repeats and realleges all paragraphs above as though fully set forth

herein.
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Defendants failed to provide Plaintiff Cumberbatch with a written notice, in English
containing: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day,
week, salary, piece, commission, or other; allowances, if any, claimed as part of the
minimum wage, including tip, meal, or lodging allowances; the regular pay day designated
by the employer; the name of the employer; any “doing business as” names used by the
employer; the physical address of the employer’s main office or principal place of business,
and a mailing address if different; and the telephone number of the employer, as required
by NYLL § 195()).

Plaintiff Cumberbatch was damaged in an amount to be determined at trial.

SIXTH CAUSE OF ACTION
VIOLATION OF THE WAGE STATEMENT PROVISIONS
OF THE NEW YORK LABOR LAW

(Brought on behalf of Plaintiff)
Plaintiff Cumberbatch repeats and realleges all paragraphs above as though fully set forth
herein.
With each payment of wages, Defendants failed to provide Plaintiff Cumberbatch with an
accurate statement listing each of the following: the dates of work covered by that payment
of wages; name of employee; name of employer; address and phone number of employer;
rate or rates of pay as basis thereof, whether paid by the hour, shift, day, week, salary,
piece, commission, or other; gross wages; deductions; allowances, if any, claimed as part
of the minimum wage; net wages; the regular hourly rate or rates of pay; the overtime rate
or rates of pay; the number of regular hours worked; and the number of overtime hours
worked, as required by NYLL § 195(3).
Due to Defendants’ violation of NYLL, Article 6, § 195(3), Plaintiff Cumberbatch is
entitled to statutory penalties of two hundred fifty dollars for each workweek that
Defendants failed to provide them with accurate wage statements, or a total of five
thousand dollars, and reasonable attorneys’ fees and costs as provided for by NYLL,
Article 6, § 198(1-d).

JURY DEMAND

Plaintiff demands a trial by jury on all issues triable by a jury.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff Cumberbatch respectfully requests that this Court enter judgment

against Defendants by:

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Declaring that Defendants violated the overtime wage provisions of, and associated rules
and regulations under, the FLSA as to Plaintiff, .
Declaring that Defendants violated the recordkeeping requirements of, and associated rules
and regulations under, the FLSA with respect to Plaintiff compensation, hours, wages, and
any deductions or credits taken against wages;

Declaring that Defendants’ violations of the provisions of the FLSA were willful as to
Plaintiff;

Awarding Plaintiff damages for the amount of unpaid minimum wage, overtime
compensation, and damages for any improper deductions or credits taken against wages
under the FLSA as applicable;

Awarding Plaintiff and liquidated damages in an amount equal to 100% of his damages for
the amount of unpaid minimum wage and overtime compensation, and damages for any
improper deductions or credits taken against wages under the FLSA as applicable pursuant
to 29 U.S.C. § 216(b);

Declaring that Defendants violated the minimum wage provisions of, and rules and orders
promulgated under, the NYLL as to Plaintiff;

Declaring that Defendants violated the overtime wage provisions of, and rules and orders
promulgated under, the NYLL as to Plaintiff;

Declaring that Defendants violated the spread-of-hours requirements of the NYLL and
supporting regulations as to Plaintiff;

Declaring that Defendants violated the timely payment provisions of the NYLL as to
Plaintiff,

Declaring that Defendants violated the notice and recordkeeping requirements of the NYLL
with respect to Plaintiffs’ compensation, hours, wages and any deductions or credits taken

against wages;

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k) Declaring that Defendants’ violations of the New York Labor Law and spread of hours
wage order was willful as to Plaintiff and the FLSA Class members;

1) Awarding Plaintiffs damages for the amount of unpaid minimum wage and overtime
compensation, and for any improper deductions or credits taken against wages, as well as
awarding spread of hours pay under the NYLL as applicable

m) Awarding Plaintiffs damages for Defendants’ violation of the NYLL notice and
recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

n) Awarding Plaintiffs liquidated damages in an amount equal to one hundred percent (100%)
of the total amount of minimum wage, overtime compensation, and spread of hours pay
shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant
to NYLL § 198(3);

o) Awarding Plaintiffs and the FLSA Class members pre-judgment and post judgment interest
as applicable;

p) Awarding Plaintiffs and the FLSA Class members the expenses incurred in this action,
including costs and attorneys’ fees;

q) Providing that if any amounts remain unpaid upon the expiration of ninety days following
issuance of judgment, or ninety days after expiration of the time to appeal and no appeal is
then pending, whichever is later, the total amount of judgment shall automatically increase
by fifteen percent, as required by NYLL § 198(4); and

r) All such other and further relief as the Court deems just and proper.

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